Case 1:21-cr-00040-RJJ ECF No. 123-1, PagelD.1159 Filed 05/16/25 Page1of2

Exhibit A

Boden: Transition Services Flyer
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CHRISTOPHER

TRANSITION CONSULTANT

Chris has walked the yards of two different Federal
Prisons, not as a thug or a gang leader capitalizing on his
past, but as a convicted defendant just like you. He is a
teacher who understands the challenges you face. He has
spent a lifetime dedicated to helping people and uses
education as a tool for empowerment

PRACTICAL EXPERIENCE

Inmate #33550-509

In stark contrast to the online “Prison Consultants” who
demand exorbitant fees for vague promises, Chris takes a
genuine approach. He’s not here to exploit your
vulnerability; instead, he offers insights into federal
programs and practical advice, leveraging his expertise to
help you navigate the intricate web of possibilities. There
are no “secret formulas” to cut your sentence in half, just
honest guidance with tangible, practical results based on
real-world experience

PROCESS & RATES

First Hour: $200 | Subsequent Hours: $150
Chris will listen to your questions and review any necessary
documents relating to your case. The following primary
concerns will be addressed:
e How to prepare for incarceration
e The real rules of prison life, how to adapt, and how
to survive while inside
e What to expect and practical guidance
What programs you might be eligible for and how to
apply for them

“Because wisdom is not something you get
until five seconds after you needed it.”
